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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
—V.— : S3 19-Cr. 254 (ALC)
REGINALD FOWLER, :
DEFENDANT.
x

DECLARATION OF ALAN KANTOWITZ

My name is Alan Kantowitz. I am a citizen of the United States and I reside in California.
Before the AAF suspended operations, I was involved as the Strategy Lead for Ebersol Sports
Media Group and its subsidiaries. In my role, I was involved in or knew about most of the
company’s significant business dealings, including dealings with Reggie Fowler.

In the summer of 2018, I was interested in making an investment in the AAF through ESMG’s
convertible note purchase agreement along with my brothers Kenneth and Steven, and Steven’s
in-laws. I was aware of Mr. Fowler’s commitments and that he and ESMG had agreed in principal
to an investment by Fowler of $50 million in equity together with a $120 million line of credit. I
had seen bank and investment account statements that Mr. Fowler provided showing more than
enough funds on deposit to make the investment.

My brother, Kenneth, purchased a convertible promissory note in the amount of $20,000 on
August 2, 2018. My brother Steven and his in-laws bought in through Krinick ASC Holdings,
LLC which purchased a $150,000 convertible note on August 3, 2018. I purchased an equivalent
$20,000 note on September 18, 2018. We all consented to conversion of our notes in the Series 1
funding round led by Mr. Fowler.

Mr. Fowler never advised me or anyone else that he had been lying about his financial account
balances. Had I known that, I would not have purchased a note at that time or consented to its
conversion and I wouldn’t have allowed my brothers to either. Although, our investment was
small compared to others, it was a lot of money to us.

I declare state under penalty of perjury that the foregoing is true and correct.
Executed on March 23, 2023. _

Alan Kantowitz
